91 F.3d 131
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Franklin R. LAWRENCE, Plaintiff--Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS;  Gary Dixon;  JoePratt, Lieutenant;  Sergeant Mclaughlin;  OfficerPace;  Doctor Baloch;  Doctor Lincoln,Defendants--Appellees.
    No. 96-6006.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 20, 1996Decided June 28, 1996.
    
      Franklin R. Lawrence, Appellant Pro Se.  Jane Ray Garvey, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Lawrence v. North Carolina Dep't of Corrections, No. CA-94-194-5-BO (E.D.N.C. Nov. 20, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    